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                               UN ITED STATES DISTRICT COU RT
                               SOU THERN DISTRICT OF FLORIDA

                           CASE N 0.10-60118-CR-ZL0CH /H U NT


    UNITED STATES OF AM ERICA ,

                  Plaintiff,


    SHADDY W HITTAKER ,

                 Defendant.


                                           O RD ER

           TH IS CAUSE having com e before the Courton the FederalPubhcDefender's

    M otion to Appoint the FederalPublic Defender, and the Court having reviewed the

    record and being fully advised in the prem ises, it is

           ORDERED AND ADJU DGED thatthe M otion toAppointthe FederalPublic

    DefenderisG RAN TED . The FederalPublicDefenderisappointed to representthe

    defendantShaddy W hittaker.

           DONEANDORDEREDatFortLauderdale,Floridathis/q dayofFebruary
   2019.



                                            H ON ORM LE PATRICK M . H UN T
                                            U NITED STATES M AGISTM TE JU DGE
          AllCounselofRecord
